UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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RESURRECT BY NIGHT LLC,                                             NOTICE OF VOLUNTARY
                                                                    DISMISSAL PURSUANT TO
                    Plaintiff,                                      F.R.C.P. 41(a)(1)(A)(i)

  v.
                                                                    Case No. 1:21-cv-04948 (VSB)
PHILIPP PLEIN AMERICAS, INC.,
PP RETAIL USA, LLC, and
PHILIPP PLEIN INTERNATIONAL AG,

                    Defendants.
___________________________________________________________


        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff

Resurrect by Night LLC and its counsel, hereby give notice that the above-captioned action is

voluntarily dismissed, without prejudice, against all Defendants.



Date: May 23, 2022

                                                              GITLIN, HORN AND VAN DE KIEFT LLP


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